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 1                                                                                                                              I. PRELIMINARY STATEMENT
 2                                                               —-                           a                                             .              ~           «04            .                             4                     o4               1               .            a        ae               a ones                         —                       eo
                           Plaintiff BrianlL Whitaker is> a CaliforniaL resident withL physical disabilities., He suffers,
 3   froml a C-4 spinal cord] injury.. He is\ quadriplegic.. He is‘ substantially, limited in his abilityr to walk.:
 4            1                                     1            a4                   8       an                            a   eae
     and uses a wheelchair: for mobility..
 5                         —_~ o    _     1 =    Y  AAs   1 _~*   Mow         Woo4            =27-9 7                                                                                                                                                                                        1                                                   4nd 7:                           :
                           DefendantCowned Rance’s’ Chicago Pizza (“Restaurant”),’ located at 5258’ E.                                                                                                                                                                                                                                           2"™             Street,’
 6   -     ~   *
                  f  sen    .   4   _          .     noone             1      aa       1
     Longr Beach,, California. Thea Restaurant is' a facility open to the’topublic, a place
                                                                                      a    a
                                                                                                  aa
                                                                                             of public,                                                                                                                               ot                                                                                                                 4




 7                                          1           oe                            1           4                .                                  tae              4
     accommodation,) and a business,’ establishment.,
 8                                  oe                                       a                                 1                                                                                                                                                           4             na           tne                                oes                                          .
                           Dining> surfaces,) sales‘ counters,' and. restrooms, are some, of the facilities,y_privileges,
                                                                                                                                                                             «                                                                                     ~

                                                                                                                         , and
                                                         r                                                                                                                                                              ‘                              a

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 9                aa    1+   i -                    a4 ~
     advantagesy offered by Defendant° to patrons> of the Restaurant.,
          1                                                                                       —~                        1




10                         _                    m~               1                            ARAN                      fe               wert                  1                                           oT               -m_                                                te                             1} 1              ase                                  c                1
                           On October. 9,) 2020,) Mr. Whitaker” went to the\‘ Restaurant and found the dining;) surfaces>
                                                                                     nN




11                                              4                        anes                                                           a4                         1                                  ate                    tans                      news                    .                          .            .                 1                                 14
     to not provide;a sufficient.- toey1 and knee4 clearance. Plaintiff’s)2 prefiling3y investigation
                                                                                               -     L
                                                                                                       also) revealed.

12   aa                1    |,                                       ,                                     teo4                                 aut        wot                                                  1             1                                    1                    _«            :
     the: sales» counter was too high and\ that. the restroom had\ noncompliant- features.»
13                         —                                 .               4                neae                              ~       a.                     .           —     -»               .                               1                .                                                      4                              1                       ae
                           Followinga) the filing’ of this suit,) Defendant. took. action to provideif complianti dininga)
                                                                     ,                    1                        r                                                                                            7                                                                                                 a                                      -                                r




14                                                                                                                                                                           —        °                                                                                                                                    .1                                         “e
     surfaces) and an accessible: sales, counter.; Defendant. also) postedL a paper signlL that- reads,) “NO
              c                                     1                                                                           1                                                                     1                      1                             1                                                  .                     “.                   1                        -
                            ,                                                                     ‘1d
                                                                                                                   \                    \                                                                           .                                                                            .


15                             \                                                              ”                    a4                                1.4                                                    .                         .                7                                                               “                 «64
     PUBLIC‘ RESTROOM” and lowered the restrooml mirror,' thoughl not to a compliant
                                                                              _      height.
                                                                                                       o
16                              -       .               ean                                   1

                           Plaintiff moved for, summary judgment. The\' Court denied Plaintiff’s,’ motionlLin part,
                                                                                                                                                           .           a                              —1                    —                  1               °       4           _1        .                enone                      .                   .




17   ae       we                    1                   ae                                        e                                 .            1                                                                               +                                                               1                «8            wane                             .            -
     finding 0 the dininga surface‘ and sales' counters) moot., The Court _granted Plaintiff's’ motionlL in
                                                ‘                            r                                 .                                                                          ‘                                           ‘                                                                                                      ’




18          oo       a                 .        1             on      aoe 4    —    ~     e          saa                                                                                                                                                                                                                        1

     part, finding>y the’‘ restrooml mirror to be at a noncompliant.. height.’ The1 Court foundL a triable’' issue,:                                                                                                                      _




19       on     +                    .   -    -                  1      1      -      ae         .
     of fact, however,’ as,, to whether the restroom was closed to the public and,) therefore,, not
          ~                                                                                                                                                                                                                                                                                                            4                             a

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     required to comply with| the\ ADA.
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          Memo of Contentions of Fact and Law                                    ’                         .                                                                                                                                               Case #: 2:19-cv-09561-JAK-JEM
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 1                                                                      II. PLAINTIFF’S CLAIMS
 2         Claim 1: Violation of the Americans with Disabilities Act of 1990 ("ADA")
 3         Elements'
           far
 4         (1) The plaintiff is disabled within the meaning of the                                           ADA [42 U.S.C.   §   12102(1)(A)];

 5             —    1
           (2) The‘ defendants own, lease,                                      or operate                  of public accommodation [42 U.S.C.
                                     on

                                                                                                  a place

 6         §   12182(a)];
                      and
                  —1            1    7
 7         (3) The1 defendants discriminated against                                             the plaintiff within the meaning of the ADA.
                        1           eae
 8         The‘ plaintiff will prove discrimination if:
 9         (a)    Defendants’ facility had unlawful architectural barriers, the removal of which is

10                aes               re
           readilyr achievable [42 U.S.C.                                  §   12182 (b)(2)(A)(iv)]; and
           wan
11         (b)    Plaintiff encountered the architectural barrier, precluding him full and equal access
                  1         a   eae
12         to the‘ facility [42 U.S.C.                              §   12188 (a)].

13
14         Key Evidence
15         (1) The testimony of                            Plaintiff Brian Whitaker;
16         (2) The testimony of Evens Louis;

17         (3) The testimony Paul Bishop;
                  —1                      1
18         (4) Photographs',                      of the Rance’s Chicago Pizza, taken by Plaintiff during his October 24,
                                                                                                      '




19                2019 visit;             ’



20         {r-\   ~_1                     1        “~.1        _
           (5) Photographs» of the‘ Rance’s Chicago| Pizza taken                                            by Mr. Evens Louis on November 4,
                                                                                           -_*
                                              '                                mt?




21                2019;
                                          *
22         (6) Photographs'»                      of The Rance’s Chicago| Pizza taken by Mr. Evens Louis on June 13,
23                2022;

24                                        1        ~       4        _                aie         _~
           (7) Photographs,
                                              '
                                                  of the‘ Rance’s Chicago PizzalL taken by Mr. Evens Louis on June 26,
25                2022;
                                                   -   4
26         (8) Photographs', of the Rance’s Chicago Pizza taken                                             by Mr. Evens Louis on July 3, 2022
                                                               _—




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     Memo of Contentions of Fact and Law                                                                         Case #: 2:19-cv-09561-JAK-JEM
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 1          Anticipated Evidentiary Issues
 2          None at this time.

 3
 4          Anticipated Issues of Law
                              ean




                                    ws
 5          Following Plaintiff’s motion for summary judgment,’ the only undecided issue is whether
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 6   the restrooml at the Restaurant remains a benefit offered to patrons.,
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 8                                          Il.       BIFURCATIONfOF ISSUES»
                     aa44                                                     ae
 9          Plaintiff has, out of abundance» of caution, listed witnesses.> and exhibits not necessary to
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10   address the remaining issue of whether the restroom| remains:y a benefit to Restaurant patrons.
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11   Should the Court limit evidence at trial to that issue, Plaintiff would have no objection and
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                    re                      1°                                ome
12                                              *
     would pare' his witness and exhibit lists. down significantly.’
                                                      >
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14                                                    IV. JURY TRIAL‘
15          The case is set for bench trial..

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17                                           V.>ATTORNEYS’ FEES)
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                                              a4                                                             _.                          aan
18          Attorneys’ fees are recoverable under the ADA. Plaintiff anticipates filing a motion for
                                                                                                                                                             .



               Ie
19   attorneys’ fees.

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21                                       VI. ABANDONMENT OF ISSUES                      7                   I
                                                                                                            oN
                                                                                                                                                    )U



22          None.

23
24   Dated: October 3, 2022
                                                                               _—

                                                          CENTER FOR DISABILITY ACCESS
                                                                                            _
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                                                                 /s/ Christopher A. Seabock
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26                                                        By:                       ~
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27                                                        CHRISTOPHER A. SEABOCK
                                                          Attorneys for Plaintiff
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      Memo of Contentions of Fact and Law                                                                                                  Case #: 2:19-cv-09561-JAK-JEM
